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                                        UNITED STATES DISTRICT COURT
                                          EASTERN DISTRICT OF TEXAS
                                                TYLER DIVISION


 UNITED STATES OF AMERICA                                            §

 V                                                                   §   CASE NO. 6:21-MJ-00028
                                                                                  6:21-MJ-00029
 RYAN TAYLOR NICHOLS                                                 §
 ALEX KIRK HARKRIDER

                                                                WITNESS LIST

DATE             HEARING:                           Lisa Hardwick                 JUDGE                    PAGE 1
1/22/2021        Detention Hearing                  Courtroom Deputy              K. Nicole Mitchell


Govt      Deft   Name of Witness                                           DIRECT       CROSS      REDIRECT   RECROSS

                 Ryan Taylor Nichols Hearing

X                TFO Gregory Harry                                        X             X          X          X

          X      Bonnie Nichols                                           X             X          X

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                 Alex Kirk Harkrider Hearing

X                TFO Gregory Harry                                        X             X          X          X
